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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JANE DOE,

             Plaintiff,

      v.                                           No. 18 CV 4240

SCHOOL OF THE ART INSTITUTE OF                     Judge Andrea R. Wood
CHICAGO, et al.,

             Defendants.

               STIPULATION OF DISMISSAL OF CERTAIN DEFENDANTS


      Plaintiff, by her attorneys, and pursuant to Rule 41(a)(1)(A)(ii), Federal Rules of Civil

Procedure, and by agreement of all Defendants, hereby voluntarily dismisses Defendants LISA

WAINWRIGHT, AMANDA DASILVA, MICHAEL NICOLAI, and BETH WRIGHT from this

matter with prejudice and with each party to bear her, his, or its own costs and fees.

Dated: February 25, 2019

                                                Respectfully submitted,

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      Case: 1:18-cv-04240 Document #: 71 Filed: 02/25/19 Page 2 of 3 PageID #:473

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    Case: 1:18-cv-04240 Document #: 71 Filed: 02/25/19 Page 3 of 3 PageID #:473




                            CERTIFICATE OF SERVICE

       I, Heidi Karr Sleper, an attorney, hereby certify that I caused the foregoing
document to be served upon the following counsel of record, via electronic notification
by the Court’s CM/ECF system on February 25, 2019.



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                                                     s/Heidi Karr Sleper
                                              By: _____________________________
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